                            EXHIBIT C




23-04496-mlo   Doc 1-4   Filed 12/22/23   Entered 12/22/23 10:48:19   Page 1 of 2
Exhibit C
Post Petition Transfers



   Date                Type             No.        Payee                    Category                                       Memo                    Total
07/24/2023   Check               5003         James Grossi   Expense Reports                  Loan Repayment/Expenses                                 10,123.46
07/05/2023   Check               5031         James Grossi   Expense Reports                  Payback from $10K Loan?                                  4,000.00
07/03/2023   Check               5021         James Grossi   Expense Reports                  Jim wrote check need backup - Expenses                   2,964.36
06/28/2023   Check               5028         James Grossi   Expense Reports                  Jim wrote a check to himself need back up                3,946.33
06/28/2023   Check               5029         James Grossi   Bank Charges                     Paying back a square payment                             2,554.32
06/26/2023   Check               5020         James Grossi   Expense Reports                  Jim Wrote a check to himself. Need back up.              2,016.36
05/05/2023   Expense             05052023     James Grossi   Expense Reports                  Jim wrote ck to himself. Need backup                         140.00
05/02/2023   Expense             05022023     James Grossi   Expense Reports                  Jim wrote ck to himself. Need to find Detail.            1,636.31
04/19/2023   Bill                04192023     James Grossi   Expense Reports                  Payment                                                  7,000.00
04/18/2023   Bill                04182023     James Grossi   Expense Reports                  Child Support                                            3,750.00


                                                                                                                                               $   38,131.14




                              23-04496-mlo      Doc 1-4      Filed 12/22/23            Entered 12/22/23 10:48:19                 Page 2 of 2
